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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                            Plaintiff,                     Case Number 13-20495
  v.
                                                           Paul D. Borman
D-1 ANDRE DEMON HURSTON,                                   United States District Judge

                                                           Elizabeth A. Stafford
                            Defendant.                     United States Magistrate Judge

                                           /

 ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
   DENYING DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR CORRECT
          SENTENCE PURSUANT TO 28 U.S.C. §2255 (ECF No. 183)

       On February 10, 2015, Defendant Hurston, a federal prisoner proceeding pro se filed the

instant motion. The Court referred the motion to Magistrate Judge Stafford for Report and

Recommendation pursuant to 28 U.S.C. §636(b)(1)(B) (ECF No.186). The Government responded

to Defendant’s Motion (ECF No. 202), and Defendant filed a Reply on November 25, 2015.

Magistrate Judge Stafford recommended denying Defendant Hurston’s Motion (R&R, ECF No. 259)

on December 18, 2015. Defendant filed an objection to the magistrate judge’s R&R (ECF No. 268).

On January 4, 2016, Defendant filed an Amended Objection to the R&R (ECF No. 271).

       The Court has read Defendant’s objections to the Report and Recommendation (ECF No.

268) and his amended objections.

       Basically, Objection #268 argues the the factual evidence does not support his plea

conviction sentencing scoring. The Court finds that his guideline scoring was correct.

       As to his Amended Objections (ECF No. 271), the Court finds that his specific offense

characteristics and enhancements were all properly applied in his sentencing after his plea to
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Conspiracy to Commit Interference with Commerce by Robbery, 18 U.S.C. §1951(A). A firearm

was brandished during the carjacking robbery, controlled substances were stolen, and the loss

category was correct.

       The Court ADOPTS the Magistrate Judge’s Report and Recommendation and DENIES

Defendant’s §2255 motion for the reasons well set forth in the Magistrate Judge’s Report and

Recommendation and in the instant opinion.

       SO ORDERED.




                                                     s/Paul D. Borman
                                                     PAUL D. BORMAN
                                                     UNITED STATES DISTRICT JUDGE

Dated: October 4, 2016



                                 CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney or party
of record herein by electronic means or first class U.S. mail on October 4, 2016.


                                                     s/Deborah Tofil
                                                     Case Manager




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